Case 23-40709   Doc 70-14 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
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                           Exhibit N
         Case 23-40709    Doc 70-14 Filed 01/16/24 Entered 01/16/24 13:03:39                 Desc Exhibit
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AttyLeahy@outlook.com

From:                           Robert Haley <rhaley@town.westborough.ma.us>
Sent:                           Friday, December 9, 2022 9:43 AM
To:                             Iris Leahy
Subject:                        FW: Redemption of Tax Title: 231 Turnpike Road, Westborough (Former Regal Cinema)




From: Lolonyon Akouete <loloact2@gmail.com>
Sent: Tuesday, December 6, 2022 12:55 PM
To: TreasurerCollector@town.westborough.ma.us
Subject: Redemption of Tax Title: 231 Turnpike Road, Westborough (Former Regal Cinema)

Hello,

My name is Lolo. I am an asset recovery specialist. We have acquired Westborough SPE, LLC and we would
like to redeem the property at 231 Turnpike Road.

Would you please let us know how much we owe?

Thank you,
Lolonyon Akouete
443-447-3276




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